[EDITORS' NOTE:  THIS PAGE CONTAINS HEADNOTES. HEADNOTES ARE NOT AN OFFICIAL PRODUCT OF THE COURT, THEREFORE THEY ARE NOT DISPLAYED.] *Page 389 
Appellant alleges that her baggage checked by respondent under a special form of ticket issued at reduced rates was lost through the carrier's own neglect, and the criticism made of the latter's partial defense setting up a clause in said ticket limiting its liability to a specified amount is that such clause does not expressly excuse the respondent's own negligence as bailee and, therefore, is not a defense in this case where such neglect is relied on. *Page 391 
The question thus raised under the circumstances of this case will be a narrow one. Its determination will be controlled by the interpretation and meaning which we shall give to the limitation clause above quoted and will not involve any uncertain groping for general principles which are to govern its effect after such interpretation has fixed its proper meaning.
Counsel for the appellant is entirely right in his claim that a clause simply releasing a carrier from liability for loss of goods will not include a case, like this, of its own negligence unless such exemption is expressly and plainly stated. He concedes also correctly that a clause in consideration of reduced rates properly and reasonably limiting the liability of a carrier to a specified valuation of the goods received by it will include a case of a loss or damage arising from its own negligence without express mention thereof. There can be no doubt about this proposition since our recent decision in Tewes v. North GermanLloyd S.S. Company (186 N.Y. 151). He contends that the clause here involved is not sufficient within the principle first stated because it does not expressly excuse the respondent's own negligence, and in that contention I agree with him. He then finally reaches the debatable ground of the case and insists that the provision which has been quoted is not sufficient under the principle secondly stated because it is not one of limited or fixed valuation, and, therefore, effective without express enumeration of such negligence. With this contention I do not agree, but think that the clause is to be construed as one relating to and fixing a valuation on appellant's baggage and limiting respondent's liability thereto in consideration of reduced rates. The choice is between an interpretation that this was a mere general clause releasing the carrier from liability without any reference to the character and value of the goods and one that it fixed the amount and value of free baggage which a passenger could check on this ticket and limited the carrier's liability to that amount.
Of course it was not necessary to use the specific word "value" or "valuation" in order to frame a clause of limited *Page 392 
valuation and liability. If the fair meaning and purpose of the clause as understood and intended by the parties was to fix a liability based on a reduced and limited valuation of goods in consideration of reduced rates of fare, we ought to enforce this meaning and carry out this purpose if permissible. In determining what must have been the understanding of the parties concerning the meaning of the clause at the time when appellant checked her baggage under the ticket containing it, it will be well to recall some of the general statutory and other legal rules which surrounded that transaction, and with knowledge of which she must be charged.
She knew that under long-established rules on a ticket at full rates she could compel the respondent to transport at its full value all of the property which she might properly check as baggage. She also must be charged with knowledge of the statute, section 38 of the Public Service Commissions Law (Laws of 1907, chapter 428), which provided, in absence of special contract, "Every common carrier and railroad corporation shall be liable for loss, damage and injury to property carried as baggage up to the full value and regardless of the character thereof, but the value in excess of one hundred and fifty dollars shall be stated upon delivery to the carrier;" and also with knowledge of the provisions of said act (Section 33), "that nothing in this act shall prevent the issuance of mileage * * * or commutation passenger tickets, * * * with special privileges as to the amount of free baggage that may be carried under mileage tickets of one thousand miles or more," and requiring (Section 28) every common carrier to file and give public notice of "schedules showing the rates, fares and charges for the transportation of passengers and property;" also with knowledge of the schedule heretofore quoted filed by respondent with the public service commission, providing, in case of such a ticket as she was using, "Wearing apparel only will be checked as baggage on tickets at fares named herein, and for such baggage belonging to one passenger this company will not accept a greater liability than $50.00." *Page 393 
With these statutes and principles presumably in her mind, and telling her that independent of statute she had a right under an unlimited ticket to enforce upon the respondent a liability for the full value of anything properly constituting baggage, and that under the statute she had a right on proper terms to enforce upon it a liability of full valuation of anything which she might desire to have transported as baggage "regardless of the character thereof," appellant preferred to secure a better rate of transportation and check her baggage under a tariff schedule and ticket which limited her as to the character of baggage and as to the amount for which liability would arise. She must necessarily have understood, as it seems to me, that although she could hold the respondent for the full value of anything she wanted to check as baggage, she was consenting to a restriction of the character and on the value of what she might check; that when the tariff schedule explained that "wearing apparel only will be checked as baggage * * * and for such baggage this company will not accept a greater liability than $50.00," and her ticket said the company's "liability for baggage shall not exceed $50.00," it meant that the company would not be liable forthe value of baggage beyond the sum mentioned and thereby the value was fixed at that amount as a limit of liability. I do not see how the clause reasonably could be given any other relation, meaning or effect. The clause certainly was not one imposing a penalty of fifty dollars on the carrier for misconduct and nobody I think will claim that it fixed an amount of liquidated damages which could be recovered in a case of loss of the baggage independent of its value. The appellant would not be allowed to recover even this fifty dollars by simply showing that she had checked and lost her baggage, but she would be compelled to prove that it was worth at least fifty dollars. Conversely, when she attempts to establish that her lost baggage was worth more than fifty dollars, the respondent, as I think, is entitled to invoke the benefit of this clause and say, "You shall not recover for a valuation in excess of fifty dollars because we have limited our liability to that amount of value." *Page 394 
Probably no one will ever point to this clause as a model in form, yet it is not far different in effect from the one interpreted in the Tewes case. There the clause which was held to be one of limited valuation and liability provided, "Nor shall this company be liable for any loss or damage or any box, package or thing for over fifty dollars unless the true and just value thereof is herein stated." The first portion of the clause is for all practical purposes identical with the one now under review. All that can be claimed to aid in making a valuation clause which does not exist in this case is the last portion of the provision that the limited liability should prevail "unless the true and just value thereof is herein stated." But under the circumstances adverted to that sentence hardly differentiates that case from this. The defendant there secured a limited liability unless, as expressly stated in the ticket itself, the shipper gave a valuation of a larger amount. The respondent here secured a limited liability unless the appellant desired an enlarged liability for the full valuation of the goods, and which the law and respondent's tariff schedules told her how to secure. In either case the meaning and effect of the limited liability clause was the same. It limited the valuation of the goods which the shipper might prove against the carrier, unless the former elected on proper terms to secure a liability for a full or larger valuation. In one case the ticket itself suggested the right to fix a greater valuation. In the other the statute and rules, presumably present in the mind of the shipper, suggested and guaranteed the same right.
It seems to be argued as a secondary and, perhaps, subordinate proposition that even should the clause which we have discussed be interpreted as one of valuation instead of mere release from liability, it is defective and, therefore, ineffective because the carrier arbitrarily fixed the valuation and did not specifically tender to the passenger the opportunity to name a different one. I do not think that this contention can be sustained if it is relied on.
I do not understand it to be argued, nor can it well be in *Page 395 
my opinion, that the amount fixed by the carrier was unreasonable or unjust as matter of law. No attempt was made to impose some illegal condition on the right of the passenger to fix a greater value, but the rights which she had in this direction and already referred to were left unimpaired. In these respects the case differs from those cited by the appellant of The Kensington
(183 U.S. 263); Eells v. St. Louis, K.  W. Ry. Co. (52 Fed. Rep. 903); Schwarzchild v. Nat. S.S. Co. (74 Fed. Rep. 257).
It is admitted also that the appellant knew of and fully understood the clause.
Under such circumstances it is established by authorities which should be controlling with us that the shipper assents and agrees to the valuation adopted by the carrier, and that this agreement is not rendered less binding because the carrier has fixed the valuation without negotiation and without express tender to the shipper of opportunity to name a different one.
As I have already suggested it was unnecessary for the respondent to point out to the appellant that she could compel it to carry her baggage at a different valuation and without limitation of liability. The statutes and rules of law outside of the statute notified her of that right and secured it to her. She could not at the same time cling to an unlimited liability and to a reduced rate of transportation, and under her contract she exercised her option and enjoyed all of her rights by letting go of the former and holding on to the latter with its defined consequences as to baggage. (Zimmer v. N.Y.C.  H.R.R.R. Co.,137 N.Y. 460; Hart v. Penn. R.R. Co., 112 U.S. 331; Cau v.Texas  Pac. Ry. Co., 194 U.S. 427; Arthur v. Texas  Pac.Ry. Co., 204 U.S. 505, 514; Hohl v. Norddeutscher Lloyd,
175 Fed. Rep. 544.)
The learned counsel for the appellant has with much pains and industry collected and discussed many cases which he insists sustain his view of the clause under discussion. It will not be possible within reasonable limits to review these cases in detail, but, as I think, all of those in the appellate *Page 396 
courts of this state may be plainly distinguished from the present one or else have already been limited in their application. Several of them are of the same class as Mynard v.Syracuse, B.  N.Y.R.R. Co. (71 N.Y. 180) where the court discussed what was plainly a general release from all liability and not a limitation on the amount thereof. Others, likeRosenthal v. Weir (54 App. Div. 275) and Rathbone v.N.Y.C.  H.R.R.R. Co. (140 N.Y. 48) were disposed of on peculiar features not prevailing in this case. The case ofBermel v. N.Y., N.H.  H.R.R. Co. (62 App. Div. 389; affirmed, 172 N.Y. 639) must be regarded either as decided on the special features of that case or else as limited in its application to a case like the present one by our decision in theTewes case. Not one of these cases, unless it be the Bermel
case, holds that a clause like the present one limiting rather than wholly releasing from liability may not be regarded in effect as one of valuation and, therefore, effective even against the carrier's negligence.
The order should be affirmed, with costs, and the question certified to us answered in the affirmative.